






 In The



Court of Appeals



Ninth District of Texas at Beaumont



  ______________________ 


					

NO. 09-07-562 CR


  ______________________


	

RAYMOND FONTENOT, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 07-00333 






MEMORANDUM OPINION


	On October 17, 2007, the trial court sentenced Raymond Fontenot on a conviction for
injury to a disabled individual.  Fontenot filed a notice of appeal on November 8, 2007.  The
trial court entered a certification of the defendant's right to appeal in which the court certified
that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The district clerk has provided the trial court's certification to the Court of
Appeals.

	On November 9, 2007, we notified the parties that we would dismiss the appeal 
unless the trial court filed an amended certification within thirty days of the date of the notice
and made it a part of the appellate record.  See Tex. R. App. P. 37.1.  The trial court has not
supplemented the record with an amended certification.

	Because the record does not contain a certification that shows the defendant has the
right of appeal, we must dismiss the appeal.  See Tex. R. App. P. 25.2(d).  Accordingly, we
dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

							                                                                   

								    DAVID GAULTNEY

			  						   Justice	


Opinion Delivered December 19, 2007

Do Not Publish


Before McKeithen, C.J., Gaultney and Kreger, JJ.


